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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
JANE DOE, LUKE LOE, RICHARD ROE, and MARY :
MOE, individually and on behalf of all others similarly                 :
situated,                                                               :
                                                                        :
                                         Plaintiffs,                    :
                                                                        : No. 1:18-cv-09936 (LGS)
                  v.                                                    :
                                                                        :
THE TRUMP CORPORATION, DONALD J. TRUMP, in :
his personal capacity, DONALD TRUMP JR., ERIC                           :
TRUMP, and IVANKA TRUMP,                                                :
                                                                        :
                                         Defendants.                    :
                                                                        :
------------------------------------------------------------------------X

                                      NOTICE OF MOTION

        PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law and

Affirmation of Cynthia Chen, together with its exhibits, Defendants The Trump Corporation,

Donald J. Trump, in his personal capacity, Donald Trump Jr., Eric Trump, and Ivanka Trump

will move this Court, before the Honorable Lorna G. Schofield, United States District Judge for

the Southern District of New York, on a date and time to be set by the Court, for an order

(1) dismissing the Complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure,

for failure to state a claim upon which relief can be granted, and (2) dismissing counts three

through eight of the Complaint pursuant to Rule 12(b)(1) of the Federal Rules of Civil

Procedure, on the additional ground that lack of subject-matter jurisdiction is lacking under Title

28, United States Code, Sections 1332(a) and 1332(d)(2). The bases for the motion are set forth

in the accompanying Memorandum of Law.
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Dated: January 14, 2019
       New York, New York

                                         Respectfully submitted,

                                         SPEARS & IMES LLP
                                         /s/ Joanna C. Hendon
                                         Joanna C. Hendon
                                         Cynthia Chen
                                         Bradley Pollina

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                                         Corporation, Donald J. Trump, in his
                                         personal capacity, Donald Trump, Jr., Eric
                                         Trump, and Ivanka Trump




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